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             EXHIBIT C
       Case 1:25-cv-00804-BAH          Document 1-4        Filed 03/18/25     Page 2 of 19

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AFTER RECORI)ATION, return to:

Michael Graham
Senior Vice President for Management
 and Chief Financial Officer
United States Institute of Peace
2301 Constitution Avenue, N.W.
Washington, D.C. 20037

                  NOTICE OF TRANSFER OF JURISDICTION
        OVER CERTAIN REAL PROPERTY IN THE DISTRICT OF COLUMBIA


       TillS NOTICE OF TRANSFER OF JURISDICTION OVER CERTAIN REAL
PROPERTY IN TI-IE DISTRICT OF COLUMBIA is made as of the ‘day of IJOVi1Y
2013, by the United Slates Institute of Peace (“USIP”), an institution established by Congress
pursuant to 22 U.S.C. § 4601-4611.

        Section 2831 of the National Delénse Authorization Act for Fiscal Year 1997, Public
Law 104-201, enacted September 23, 1996 (110 Stat. 2422), authorized the Secretary of the
Navy (the “Navy”) to transfer administrative jurisdiction to USIP of a portion of the land
comprising the “Potomac Annex” located at 23 Street, N.W. and Constitution Avenue, NW.,
Washington, D.C.; aHd Section 2842 of the John Warner National Defense Authorization Actfoi
Fisci! Year 2007. Public Law 109-364, enacted October 17, 2006 (120 Stat. 2083), (the “2007
Act”) authorized the Secretary of the Navy to transfer administrative jurisdictioH of an additional
portion of Potomac Annex to USIP. As authorized by the 2007 Act, the Navy has transferred to
USIP administrative .jurisdiction of approximately 1.1288 acres of said land as more particularly
described in Exhibit A attached hereto and made a part hereof Pursuant to the Transfer and
Acceptance of Military Real Property (DD Form No. 1354), a copy of which is attached hereto
as Exhibit B and made a part hereo1 said transfer of jurisdiction was confirmed as of
August 29, 2012.

        IN WITNESS WI-IEREOF, the United Stales Institute of Peace has caused this Notice of
Transfer of Jurisdiction over Certain Real Property in the District of Columbia to be signed by
Michael Graham, Senior Vice President for Management and Chief Financial Officer, of the
United States Institute of Peace, and hereby acknowledges that the execution and delivery of this
Notice of Transfer of Jurisdiction over Certain Real Property in the District of Columbia is the
act and deed of the United States Institute of Peace.


WITNESS:                                     UNITED STATES INSTITUTE OF PEACE.




                                             Title: Senior Vice Pt for Managem...
                                                                                          -I-
                                                     and Chief F mancial Officer



255870 17v3                                    -   I   -                       Holland & Knight LLP
         Case 1:25-cv-00804-BAH   Document 1-4   Filed 03/18/25   Page 3 of 19
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       Case 1:25-cv-00804-BAH               Document 1-4                Filed 03/18/25        Page 4 of 19




DISTRICT OF COLUMBIA                    )        to wit:


         I,T1 (l    Li141VV1a Notary Public in and for the jurisdiction aforesaid, do hereby
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certify that flA. it4i&’( &— 1i                    who is personally well known to me (or
                                                      ,



satisfactorily roven by the oath of credible witnesses or other evidence) to be the person named as
  fri                    “fl of the United States Institute of Peace, in the foregoing Notice of
Transfer of Jurisdiction over Certain Real Property in the District of Columbia hearing date as of
jft CrWJ b-€’i’          2013, hereto annexed, personally appeared before me in the aforesaid
                         ,



jurisdiction and acknowledged the execution and delivery of this Notice of Transfer of Jurisdiction
over Certain Real Property in the District of Columbia as the act and deed of the United States
Institute of Peace.

           Given under my hand and notarial seal this                  day of                           2013.



 N o t aria I sa i                                                r       Tracy McCrimmon
                                                                      NuLdruJic, District of CoIumDia
                                                                  Nixpires December 14, 2017



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       Case 1:25-cv-00804-BAH        Document 1-4         Filed 03/18/25   Page 6 of 19




                                       List of Exhibits

        Exhibit A:   Property Description

        Exhibit B:   Transfer and Acceptance of Military Real Property (DD Form 1354)




255870 17v3                                  -   3   -                      Holland & Knight LLP
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                                                   EXHIBIT A


     (3 0 GREENHORNE & O’MARA
               CONSULTING ENGINEERS
             Inspired Solutions, Improving Lives

                                                    Description of
                                      Proposed USIP Property at Potomac Annex
                                          A Portion of Lot 805 in Square 34
                                                  Washington, D.C.

Being a portion of Lot 805 in Square 34 as shown on the Office of Tax and Revenue Assessment
Division, Assessment and Taxation Plat 3849-W filed among the records of the Office of the Surveyor for
the District of Columbia, and being more particularly described as follows:
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Beginning for the same on the west side of         Street N.W along the eastern outline of Lot 805, Square
34 as shown on the Office of Tax and Revenue Assessment Division, Assessment and Taxation Flat
3849-W filed among the records of the Office of the Surveyor for the District of Columbia, at the point
distant South 00 degrees 14 minutes 25 seconds West 892.99 feet from the intersection of the west side
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of      Street, NW. with the south side of E Street, NW., said point also being at the easterly end of the
North 90 degrees 00 minutes 00 seconds West 244.12 foot line of the existing division lines between the
Potomac Annex Installation and the lands of the United States Institute of Peace as shown on the
Department of the Navy, Real Estate Summary Map, NAVFAC Drawing number 13,002,678 dated August
                                                                        rd
                                                                        23
15, 2007, thence leaving the outline of Lot 805 and the west side of        Street N.W and running reversely
with and binding on the said existing division lines as shown on said Map, the four following courses and
distances, referring all courses of this description to the Grid Meridian established in the Maryland
Coordinate System NAD83(2007),

1.   North 89 degrees 45 minutes 35 seconds West 244.12 feet, thence

2.   North 73 degrees 54 minutes 22 seconds West 30.93 feet, thence

3.   North 41 degrees 47 minutes 25 seconds West 107.14 feet, and thence

4. North 89 degrees 45 minutes 35 seconds West 133.01 feet to intersect the easterly outline of said Lot
805 and the South 42 degrees 01 minute 50 seconds East 449.69 foot line of U.S. Appropriation No. 4’
as shown on the Transfer of Jurisdiction Plat recorded in the Office of the Surveyor for the District of
Columbia in Book 155 at Page 131 at the distance of 3.29 feet from the northwesterly end of said Flat
line, thence running reversely with and binding on a part of said line,

5. North 41 degrees 47 minutes 25 seconds West 3.29 feet to a pipe and cap heretofore set, thence
leaving the outline of Lot 805 for new lines, the seven following courses and distances,

6. North 00 degrees 14 minutes 25 seconds East 62.38 feet to a point of non-tangent curvature at or
near the southern curbline of the existing southern access road within Potomac Annex, thence along or
near the southern curbline, the two following courses and distances.




25587017v3                                     Exhibit A, Page 1 of 2
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7. Easterly, 62.05 feet along an arc of a curve to the left having a radius of 125.00 feet (the arc of said
curve being subtended by the chord bearing and distance of South 75 degrees 46 minutes 20 seconds
East 61 .42 feet) to a point of tangency, thence

8. South 89 degrees 59 minutes 38 seconds East 184.29 feet to a point at the west end of an existing
sidewalk, thence leaving said curbline at right angles and running along said walk,

9. South 00 degrees 00 minutes 22 seconds West 3.90 feet to intersect a line drawn extending from the
south side of the sidewalk paralleling the aforementioned southern access road, thence at right angles
running along said walk and its extensions thereof,

10. South 89 degrees 59 minutes 38 seconds East 84,58 feet to intersect the west side of a road or
driveway leading south from said access road, thence

11. South 00 degrees 14 minutes 25 seconds West 9.03 feet to intersect a line drawn 13 feet, more or
less, south of the southern curbline of the said access road, and thence at right angles

12. South 89 degrees 45 minutes 35 seconds East 152.34 feet to intersect the eastern outline of Lot 805
                     rd
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and the west side of    Street N.W, thence along said road and outline,

13. South 00 degrees 14 minutes 25 seconds West 126.19 feet to the point of beginning; containing
49,169 square feet or 1.1288 acres of land, more or less, as now described in June 2012 based on a survey
made by Greenhorne & OMara, Inc. in 2011.




25587017v3                                  Exhibit A, Page 2 of 2
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